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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
             v.                             )       CRIMINAL NO. 18-28 (EGS/GMH)
                                            )
JARRELL HARRIS,                             )
                                            )
             Defendant.                     )
                                            )


                               DETENTION MEMORANDUM

       This matter comes before the Court upon the application of the United States that

Defendant, Jarrell Harris, be detained pending trial. Defendant has been charged by Indictment

with five counts: (1) escape from custody in violation of 18 U.S.C. § 751(a); (2) unlawful

possession of a firearm and ammunition in violation of 18 U.S.C. § 922(g)(1); (3) unlawful

possession of ammunition by a felon, also in violation of 18 U.S.C. § 922(g)(1); (4) recklessly

fleeing from a law enforcement officer in violation of D.C. Code § 50-2201.05b(b)(2); and (5)

assault with a dangerous weapon in violation of D.C. Code § 22-402. The Court held a detention

hearing on February 23, 2018. Upon consideration of the proffers and arguments of counsel and

the entire record herein, the Court ordered Defendant held without bail pursuant to 18 U.S.C. §

3142(e). This memorandum is submitted in compliance with the statutory obligation that “the

judicial officer shall . . . include written findings of fact and a written statement of the reasons

for the detention.” 18 U.S.C. § 3142(i)(1). The findings of fact and statements of reasons in

support of the Order of Detention follow.
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                                    FINDINGS OF FACT

     A.      Instant Offense

       At the detention hearing, the United States proceeded by proffer based on the Indictment.

The defense offered no contrary evidence. Accordingly, the Court makes the following findings

of fact regarding the government’s investigation:

      On June 15, 2017, Defendant, who was incarcerated at the Hazelton Federal Correctional

Institution in West Virginia, applied for a furlough transfer to a Residential Reentry Center,

commonly known as halfway house. Upon this application, Defendant signed an agreement

stating that he understood the rules governing those placed in a Residential Reentry Center,

including, “If I fail to remain within the extended limits of this confinement, it shall be deemed

an escape.” On September 19, 2017, Defendant departed the Hazelton correctional facility for

Hope Village, a Residential Reentry Center located in Washington, D.C. Upon his arrival at

Hope Village, Defendant signed an “Acknowledgement of Receipt of Resident Rules and

Regulations, Terms and Conditions,” otherwise known as “the handbook.”

      On November 5, 2017, Defendant was seen by a Hope Village supervisor getting into the

driver’s seat of a black two-door Mercedes CLK 300 convertible. The supervisor said to

Defendant, “You don’t have permission to drive, didn’t you read the handbook?” Defendant

replied, “Fuck the handbook” and drove off. Defendant eventually returned to Hope Village later

that day. However, three days after that incident, on November 8, 2017, Defendant walked into

a supervisor’s office carrying all his belongings and announced, “I’m out of here.” Defendant

then departed Hope Village. After attempts to locate Defendant failed, a warrant was issued for

his arrest on a charge of escape.

      On January 11, 2018, police officers in Prince George’s County, Maryland, attempted to
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stop a black two-door Mercedes CLK 300 convertible driven by Defendant in connection with a

robbery that had just occurred. Defendant did not stop, and instead fled from the marked police

cruisers, which had their emergency lights and sirens activated. A twelve-minute car chase

ensued, which was captured on the dashboard cameras of the Prince George’s County Police

Department (“PGPD”). Defendant drove recklessly and at a high rate of speed running several

red lights, driving into oncoming traffic (crossing the double yellow line), turning left from the

far right lane of traffic (nearly striking cars in the right turn lane), swerving in and out of traffic,

making illegal U-turns, speeding through two parking lots, and running at least eight stop signs.

Upon entering the 3100 block of Bruce Place in S.E. Washington, D.C., Defendant jumped out

of the Mercedes and ran into the woods. His car, however, remained in motion and struck a

PGPD cruiser that an officer was exiting. This caused the officer’s knee to be injured when the

Mercedes pinned him between the door and the body of his cruiser.

      Officers, from both the PGPD and the D.C. Metropolitan Police Department (“MPD”),

chased Defendant into the woods on foot. The on-foot pursuit was captured on the body cameras

of the MPD officers. While fleeing, Defendant became entangled in the underbrush and fell.

Officers then apprehended Defendant, handcuffed him, and helped him stand up. On the ground

directly under where Defendant was laying was a .357 revolver. The revolver was loaded with

six rounds of ammunition.

      Defendant was then walked to the street, and while he was sitting on the curb, an MPD

officer asked him for biographical information in order to fill out the arrest paperwork. When

the officer asked for his address, Defendant stated, “I ain’t gonna lie to you, I ran away from the

halfway house.” Prior to being placed in a transport vehicle, officers searched Defendant’s

pockets and discovered two revolver speed loaders containing an additional eleven rounds of
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    .357 ammo.1

          B.       Defendant’s Criminal History

          Defendant has a prior conviction for Assault with a Dangerous Weapon, in D.C. Superior

    Court case 2015-CFl-6671. This conviction stemmed from an incident where Defendant pulled a

    gun on a construction worker and threatened to kill him. Defendant pled guilty to that charge and

    was sentenced to three years in prison. Defendant was serving the last portion of this three-year

    sentence at Hope Village when he allegedly absconded and committed the above offenses.

            Additionally, Defendant has a 2013 conviction for unlawful possession of a firearm in

    D.C. Superior Court case number 2013-CF2-6643. Defendant successfully finished probation in

    that matter in March 2015. However, in April 2015—the very next month—he committed the

    assault on a construction worker discussed above.

            Finally, PGPD have obtained warrants and lodged a detainer against Defendant for the

    offenses in Maryland. On January 12, 2018, a warrant was issued for Defendant for First Degree

    Assault. See Pretrial Services Report dated February 15, 2018 at 2. On January 19, 2018, two

    warrants were issued for Defendant for Attempted First Degree Murder-Handgun and Armed

    Robbery. Id.

                                              LEGAL STANDARD

               The Bail Reform Act of 1984, 18 U.S.C. § 3142 et seq., provides, in pertinent part, that

    if a judicial officer finds by clear and convincing evidence that “no condition or combination

    of conditions will reasonably assure the appearance of the person as required and the safety of

    any other person and the community, such judicial officer shall order the detention of the


1
  A “speed loader” is a circular device that, when loaded with ammunition, allows the user to load a revolver all at one
time instead of inserting each round individually.
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    [defendant] before trial.” 18 U.S.C. § 3142(e). Thus, even if a defendant is not considered a flight

    risk, his or her danger to the community alone is sufficient reason to order pretrial detention.

    United States v. Salerno, 489 U.S. 739, 755 (1987); United States v. Perry, 788 F.2d 100, 113

    (3d Cir. 1986); United States v. Sazenski, 806 F.2d 846, 848 (8th Cir. 1986). Where the judicial

    officer’s justification for detention is premised upon the safety of the community, the decision

    must be supported by “clear and convincing evidence.” 18 U.S.C. § 3142(f)(2). Where the

    justification for detention is a finding that no set of conditions will assure the defendant’s

    appearance in court, such a decision must be supported by a preponderance of the evidence. See

    United States v. Simpkins, 826 F.2d 94, 96 (D.C. Cir. 1987). Here, the government is seeking

    the pretrial detention of Defendant both on the basis of danger to the community under 18 U.S.C.

    § 3142(f)(1)(E)—for possession or use of a firearm2—and on the grounds that Defendant is a

    flight risk under 18 U.S.C. § 3142 (f)(2)(A).

                                                       ANALYSIS

            In determining whether there are conditions of release that will reasonably assure the

    appearance of the person as required and the safety of any other person and the community, the

    judicial officer considers: (1) the nature and circumstances of the offense; (2) the weight of the

    evidence against the defendant; (3) the history and characteristics of the defendant; and (4) the

    nature and seriousness of the danger to any person or the community that would be posed by the

    defendant’s release. 18 U.S.C. § 3142(g).




2
 While possession of a firearm in and of itself is not a crime of violence, United States v. Singleton, 182 F.3d 7, 16 (D.C.
Cir. 1999), the Bail Reform Act specifically allows for the government to make a motion for pretrial detention for a case
which involves “any felony that is not otherwise a crime of violence . . . that involves the possession or use of a firearm[.]”
18 U.S.C. § 3142(f)(1)(E).
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             1.      Nature and Circumstances of the Charged Offense

       The first factor, the nature and circumstances of the charged offense, favors detention. This

factor asks the Court to consider “the nature and circumstances of the offense charged” as a

general matter, but points especially to instances where “the offense is a crime of violence, a

violation of section 1591, a Federal crime of terrorism, or involves a minor victim or a controlled

substance, firearm, explosive, or destructive device.” 18 U.S.C. § 3142(g)(1).

       Defendant’s charged offenses involve escape, possession of a loaded firearm, as well as

recklessly fleeing from a law enforcement officer.    Defendant was open about his disregard of

the rules of confinement at the halfway house and failed to remain on the premises as instructed.

In his escape from the halfway house, Defendant not only left, but openly announced that he was

leaving to the on-duty supervisor. Two months later, when PGPD attempted to stop Defendant

in his car, he fled, leading the police on a high-speed chase through Maryland and the District of

Columbia. This behavior heightens the Court’s concern that Defendant would be a flight risk

and would not comply with any conditions if released.

       Also of particular concern is Defendant’s blatant disregard for the safety of others as he

ran through red lights and stop signs, made illegal U-turns, turned left from the far right lane,

drove into oncoming traffic, and sped through parking lots while fleeing from the police. In

addition, when Defendant left his vehicle to flee on foot, he left the car running such that it

crashed into a police cruiser, injuring an officer. Further, a loaded .357 revolver was found

underneath Defendant, and eleven more .357 rounds loaded into two speed loaders were found

on his person. This conduct raises significant concern about Defendant’s disregard for the safety

of others in the community were he to be released. Further, reflecting the seriousness of the

offenses charged in the Indictment, Defendant faces a combined forty-five years in prison if found
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guilty of all five.

              2.      The Weight of the Evidence

        The Court finds that the weight of the evidence also favors detention. The evidence

against Defendant is strong. PGPD dashboard cameras captured Defendant fleeing from officers

in a twelve-minute car chase, and MPD body cameras captured Defendant’s on-foot pursuit. The

ammunition seized from Defendant’s person was for a .357 revolver, the same weapon that was

found on the ground when officers picked Defendant up.

        With regard to the charge of escape, there are documents Defendant signed

acknowledging restrictions on leaving the premises of Hope Village, a Hope Village supervisor

who witnessed him leaving, and Defendant’s subsequent admission that he “ran away from the

halfway house.”

              3.      The History and Characteristics of Defendant

        This factor also supports detention. Section 3142 directs the Court to consider: (1) the

defendant’s character, physical and mental condition, family ties, employment, financial

resources, length of residence in the community, community ties, past conduct, history relating

to drug or alcohol abuse, criminal history, and record concerning appearance at court

proceedings; and (2) whether, at the time of the current offense or arrest, the defendant was on

probation, on parole, or on other release pending trial, sentencing, appeal, or completion of

sentence for an offense under federal, state, or local law. 18 U.S.C. § 3142(g)(3)(A)–(B).

        The Court recognizes that Defendant has some ties to the community. Defendant is a

lifelong District of Columbia resident. His counsel represented that he had a job at the time he

left Hope Village, and that he continued to report to work even after his escape. However, based

on the evidence presented to the Court by Pretrial Services, it appears that Defendant was
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unemployed at the time of his arrest on the instant charges. Defendant proposes that he not be

detained and instead be permitted to live at the home of his mother under the High Intensity

Supervision Program.

       However, Defendant has several prior convictions in Washington, D.C.               In 2015,

Defendant was convicted of Assault with a Dangerous Weapon for threatening to kill a

construction worker, and was sentenced to three years of incarceration. In 2013, Defendant was

convicted of possession of an unregistered firearm, unlawful possession of ammunition, and

attempt to carry a pistol without a license. While Defendant satisfactorily served his probation

for his 2013 conviction, one month after his probation ended, he committed the 2015 charge for

Assault with a Dangerous Weapon.

             4.      The Danger to the Community

       The fourth factor, the danger to the community posed by Defendant, also weighs in favor

of detention. Defendant contends he does not pose a danger to the community, as the only crime

of violence he is charged with resulted from his abandoned car striking the car of a police officer,

which he claims was unintentional. However, the Court is unable to ignore that the charged

offenses involve Defendant’s possession of a loaded firearm, despite the fact that he is legally

barred from such possession. Further, Defendant’s reckless flight from police officers had the

potential to cause serious injury or death to innocent persons in the community.

       Further, Defendant’s escape in this instance demonstrates his disregard for or inability to

comply with conditions which are more lenient than incarceration. Defendant arrived at Hope

Village in September 2017 to serve out the remainder of his sentence for his 2015 conviction.

He was made aware that he was not to leave the premises of Hope Village, yet he showed blatant

disregard for warnings not to leave the premises, and absconded less than two months after his
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  arrival. Based on this history, the Court has little confidence that Defendant would comply with

  the terms of his supervision and return to Court as instructed even were he to be released to his

  mother’s house under the High Intensity Supervision Program.

                                            CONCLUSION

         Based on the consideration of all the evidence and the factors set forth in section 3142(g),

  and all lesser restrictive alternatives to pretrial detention, the Court finds by clear and convincing

  evidence that no condition or combination of conditions exist that would reasonably assure the

  safety of any other person or of the community if Defendant were released. The Court also finds

  by a preponderance of the evidence that no condition or combination of conditions exist that

  would reasonably assure the Defendant’s future appearance in Court. Therefore, the

  government’s motion for pretrial detention is GRANTED.

                            DIRECTIONS REGARDING DETENTION

       Defendant is ORDERED remanded to the custody of the Attorney General or to the Attorney

General’s designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

Defendant must be afforded reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the government, the person

in charge of the corrections facility must deliver Defendant to a United States Marshal for the purpose

of an appearance in connection with a court proceeding.

                                                                               Digitally signed by
                                                                               G. Michael Harvey
                                                                               Date: 2018.02.28
  Date: February 28, 2018                                                      10:22:50 -05'00'
                                                        G. MICHAEL HARVEY
                                                        UNITED STATES MAGISTRATE JUDGE
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